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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                           SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                          4:19-CR-40003-06-KES

                   Plaintiff,

       vs.                                     ORDER DENYING MOTION FOR
                                               RELIEF UNDER THE FIRST STEP
 AMANDA LEIGH WIEMAN,                                     ACT

                   Defendant.


      Defendant, Amanda Leigh Wieman, moves for compassionate release

under 18 U.S.C. § 3582(c)(1)(A)(i). Docket 282. Plaintiff, the United States of

America, opposes the motion. Docket 288. For the following reasons, the court

denies defendant’s motion for compassionate release.

                                 BACKGROUND

      Wieman pleaded guilty to conspiracy to distribute a controlled substance

in violation of 21 U.S.C. §§ 841(a)(1) and 846. Dockets 158, 174. On October

28, 2019, this court sentenced Wieman to 120 months in custody and 5 years

of supervised release. Docket 231; Docket 242 at 2-3. Wieman is eligible for

home confinement on August 1, 2027, and her current anticipated release date

is February 1, 2028. Docket 284 at 212.

      Wieman is incarcerated at Federal Correctional Institution (FCI) Pekin, a

medium-security correctional institution in Pekin, Illinois. Id.; Docket 285 at 1.

As of September 10, 2020, there are currently two active COVID-19 cases

among FCI Pekin’s inmates, one inmate and four staff have recovered from

COVID-19, and there are zero deaths from COVID-19. See BOP: COVID-19
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Update, Federal Bureau of Prison, https://www.bop.gov/coronavirus/ (last

visited on Sept. 10, 2020).

      Wieman’s health conditions include obesity, asthma, hypothyroidism,

gastro-esophageal reflex disease, otitis media in both ears, and endometriosis.

Docket 284 at 1-2, 115. Wieman takes medication to treat her hypothyroidism,

gastro-esophageal reflex disease, otitis media, and endometriosis. Id. at 24-25,

72, 81, 111. Additionally, she is prescribed two inhalers to control her asthma.

Id. at 24-25, 109. In March of 2020, Wieman weighed 260.9 pounds, and she is

70 inches tall. Id. at 116, 148. Based on her height and weight, her body mass

index (BMI) is 37.3. Adult BMI Calculator, Ctrs. for Disease Control &

Prevention, https://www.cdc.gov/healthyweight/assessing/bmi/adult_bmi

/english_bmi_calculator/bmi _calculator.html (last visited on Sept. 10, 2020);

see also Docket 284 at 115.

      Wieman submitted an Inmate Request to Staff form to the warden,

requesting compassionate release because of her health and COVID-19. See

Docket 284 at 218. On May 5, 2020, the warden denied Wieman’s request. Id.

      Wieman filed a pro se motion with the court for relief under the First

Step Act. Docket 282. Wieman’s counsel subsequently filed a supplement to

her pro se motion. Docket 285.

                                 DISCUSSION

      Because sentences are final judgments, a court ordinarily “may not

modify a term of imprisonment once it has been imposed[.]” 18 U.S.C.

§ 3582(c). In 2018, Congress passed the First Step Act (FSA). Pub. L. No. 115-

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391, 132 Stat. 5194 (2018). In pertinent part, the FSA amends 18 U.S.C.

§ 3582(c)(1)(A) to permit inmates in specified circumstances to file motions in

the court where they were convicted seeking compassionate release. § 603.

Compassionate release provides a narrow path for defendants with

“extraordinary and compelling reasons” to leave prison early. 18 U.S.C.

§ 3582(c)(1)(A)(i). Such a sentence must comply with the 18 U.S.C. § 3553(a)

sentencing factors and “applicable policy statements issued by the Sentencing

Commission[.]” 18 U.S.C. § 3582(c)(1)(A). The Sentencing Commission’s policy

statement, which was adopted before the FSA, requires both “extraordinary

and compelling reasons” and that “the defendant is not a danger to the safety

of any other person or to the community, as provided in 18 U.S.C. § 3142(g)[.]”

U.S.S.G. § 1B1.13(1) (U.S. Sentencing Comm. 2018). The burden to establish

that a sentence reduction is warranted under 18 U.S.C. § 3582(c) rests with

the defendant. See United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016).

      Wieman argues that the “unprecedented and extraordinary risk posed by

the global COVID-19 pandemic,” together with her a health conditions, satisfies

the “extraordinary and compelling reasons” standard under 18 U.S.C.

§ 3582(c)(1)(A)(i). Docket 285 at 1. Wieman requests a sentence of time served

and, if deemed necessary by the court, a period of home confinement as a

condition of supervised release. Id.

I.    Administrative Exhaustion

      Previously, only the Bureau of Prisons (BOP) Director possessed the

authority to bring a compassionate release motion on a defendant’s behalf.

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With the enactment of the FSA, however, Congress has now permitted courts to

grant compassionate release on motions filed by defendants “after the

defendant has fully exhausted all administrative rights to appeal a failure of

the Bureau of Prisons to bring a motion on the defendant’s behalf or the lapse

of 30 days from the receipt of such a request by the warden of the defendant’s

facility, whichever is earlier . . . .” 18 U.S.C. § 3582(c)(1)(A).

      The warden denied Wieman’s request for home confinement on May 5,

2020. The 30-day period expired on June 4, 2020. Given that the 30-day

waiting period required by 18 U.S.C. § 3582(c)(1)(A) has lapsed, Wieman’s

motion is ripe for review on the merits.

II.   Extraordinary and Compelling Reasons

      Section 3582(c)(1)(A)(i) provides that the sentencing court may grant

compassionate release based on “extraordinary and compelling reasons[.]”

Congress did not define what constitutes “extraordinary and compelling.” See

28 U.S.C. § 994(t). Rather, the Sentencing Commission was directed to

promulgate “the criteria to be applied and a list of specific” extraordinary and

compelling examples. Id. Prior to Congress passing the FSA, the Sentencing

Commission limited “extraordinary and compelling reasons” to four scenarios.

U.S.S.G. § 1B1.13 cmt. n.1(A)-(C). The four scenarios pertain to a defendant’s

(1) terminal illness, (2) debilitating physical or mental health condition,

(3) advanced age and deteriorating health in combination with the amount of

time served, and (4) compelling family circumstances. Id. Additionally, there is

a fifth catch-all category for an “extraordinary and compelling reason other

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than, or in combination with, the reasons described in subdivisions (A) through

(C)” as determined by the Director of the Bureau of Prisons. U.S.S.G. § 1B1.13

cmt. n.1(D).

      After the FSA was passed, the Sentencing Commission did not update its

policy statement because the Sentencing Commission has not had a quorum.

See United States v. Beck, 425 F. Supp. 3d 573, 579 n.7 (M.D.N.C. 2019) (“As

the Sentencing Commission lacks a quorum to amend the U.S. Sentencing

Guidelines, it seems unlikely there will be a policy statement applicable to

[compassionate-release] motions brought by defendants in the near future.”).

As a result, district courts are left to determine whether the policy statement of

the Sentencing Commission that was in existence when the FSA was passed

still applies. See United States v. Rodd, 2019 WL 5623973, at *3 (D. Minn. Oct.

31, 2019); United States v. Brown, 2020 WL 2091802, at *5-6 (S.D. Iowa Apr.

29, 2020). It is clear that Congress wishes to “[i]ncreas[e] the [u]se . . . of

[c]ompassionate [r]elease” by allowing district courts to grant petitions

“consistent with applicable policy statements” from the Sentencing

Commission. See 132 Stat. at 5239; 18 U.S.C. § 3582(c)(1)(A). But the

Commission has not addressed whether the policy statement from the old

regime is applicable to the new statute nor has it adopted a new policy

statement. Because the First Step Act changed the way a compassionate

release motion may be brought, “several district courts have concluded that the

discretion vested in the BOP Director under the catch-all provision now belongs

coextensively to federal judges.” United States v. Condon, 2020 WL 2115807, at

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*3 (D.N.D. May 4, 2020) (citing United States v. Fox, 2019 WL 3046086, at *3

(D. Me. July 11, 2019); United States v. Beck, 425 F. Supp. 3d 573, 578-80

(M.D.N.C. 2019); United States v. Cantu, 423 F. Supp. 3d 345, 352-53 (S.D.

Tex. 2019)); see also United States v. Rivernider, 2020 WL 597393, at *3 (D.

Conn. Feb. 7, 2020). This uncertainty has not yet been addressed by the

Eighth Circuit. See United States v. Rodd, 966 F.3d 740, 747 (8th Cir. 2020)

(“We need not determine whether the district court erred in adhering to the

policy statements in § 1B1.13.”); see also United States v. Frith, 2020 WL

4229160, at *2 (D.N.D. July 23, 2020).

      Assuming that the policy statements continue to apply to compassionate

release motions brought under the amended FSA, Wieman has failed to show

that her health conditions rise to extraordinary and compelling circumstances.

      Wieman contends that her circumstances warrant relief under the

medical conditions category, U.S.S.G. § 1B1.13 comment note 1(A), and the

catch-all provision, U.S.S.G. § 1B1.13 comment note 1(D). Docket 285 at 3-14.

Wieman argues that her health conditions put her at high-risk of serious

complications if she contracts COVID-19. Id. at 8.

      COVID-19 appears to pose a particular risk for individuals with certain

existing health conditions. People with the following health conditions are at an

increased risk of severe illness from COVID-19: cancer, chronic kidney disease,

COPD, immunocompromised state from organ transplant, obesity (a BMI of 30

or higher), serious heart conditions, sickle cell disease, and Type II diabetes.

People with Certain Medical Conditions, Ctrs. for Disease Control & Prevention,

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https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-

with-medical-conditions.html?CDC_AA_refVal (Aug. 14, 2020). The Centers for

Disease Control and Prevention (CDC) also provided a list of medical conditions

that might put a person at an increased risk of severe illness from COVID-19.

Id. These medical conditions include asthma (moderate to severe), hypertension

or high blood pressure, smoking, liver disease, Type 1 diabetes mellitus, and

several others. Id.

      The court has reviewed the medical records submitted in this case.

Wieman’s health conditions include obesity, asthma, hypothyroidism, gastro-

esophageal reflex disease, otitis media in both ears, and endometriosis.

      With a BMI of 37.3, Wieman is obese, and therefore, she presents the

additional risk factor of obesity. The United States appears to concede that

obesity is an “extraordinary and compelling reason” for a sentence reduction.

Docket 288 at 8-9. To the extent the United States suggests that obesity

standing alone qualifies as a compelling and extraordinary reason warranting

release, the court disagrees. “[T]he fact that [Wieman] suffers from obesity

during the age of the COVID-19 pandemic does not necessarily mean, on its

own, that extraordinary and compelling reasons justify the reduction of [her]

sentence.” United States v. Williams, 2020 WL 4756743, at *5 (E.D. Pa. Aug.

17, 2020); see also United States v. McAbee, No. 4:14-CR-40027-KES, 2020 WL

5231439, at *3 (D.S.D. Sept. 2, 2020) (finding defendant with asthma and a

BMI of 30.8 or 31.7 did not establish extraordinary and compelling reasons);

United States v. Saenz, No. 3:10-CR-30027-RAL, 2020 WL 4347273, at *5

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(D.S.D. July 29, 2020) (finding defendant with other medical conditions and a

BMI between 40 and 44.9 did not establish extraordinary and compelling

reasons). Wieman has not identified how her obesity prevents her from

providing self-care in a correctional facility setting or how it amounts to

extraordinary and compelling circumstances.

      Wieman’s asthma is listed as a medical condition that might increase the

risk of severe illness from COVID-19. In her BOP medical records, there is an

absence of documentation showing that Wieman’s asthma is moderate or

severe. Although Wieman made numerous subjective complaints that her

asthma was uncontrolled, her medical providers continually noted that her

lungs were clear, and she had no shortness of breath. Docket 284 at 12, 17,

27, 80, 85, 91-92, 103, 109. According to the medical records, Wieman’s

asthma appears to be managed with two prescribed inhalers. Id. at 12, 17, 24-

25, 27, 80, 85, 91-92, 103, 109; see United States v. Muhlenhardt, 2020 WL

4697112, at *4 (D. Minn. Aug. 13, 2020) (“[D]espite the risk [the

defendant’s] asthma can present, the Court agrees with the findings of several

courts that this risk alone is insufficient to warrant release.”); United States v.

Slone, 2020 WL 3542196, at *6 (E.D. Pa. June 30, 2020) (“[A]n incarcerated

person arguing extraordinary and compelling reasons based on asthma which

is not moderate to severe is not entitled to compassionate release.”). Wieman’s

other medical conditions—hypothyroidism, gastro-esophageal reflux disease,

otitis media in both ears, and endometriosis—are not listed as medical

conditions that might increase the risk of severe illness from COVID-19.

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      While some of Wieman’s medical conditions may put her at a higher risk

of severe illness if she contracts COVID-19, that has not been the case as of

yet. See United States v. Fry, 2020 WL 1923218, at *1 (D. Minn. Apr. 21, 2020)

(holding that to merit compassionate release, inmate “must show more than a

mere speculation of the possibility of contracting the virus.”). Additionally,

there is no evidence in the record to suggest she has not been able to manage

her medical conditions while in the prison environment. Wieman is receiving

medical attention and treatment for these conditions, which all appear to be

stable, controlled, or monitored. See, e.g., Docket 284 at 12, 71-73, 79-81, 109-

11 (detailing sick calls and follow-up visits and medication for health

conditions). “Chronic conditions that can be managed in prison are not a

sufficient basis for compassionate release.” United States v. Ayon-Nunez, 2020

WL 704785, at *3 (E.D. Cal. Feb. 12, 2020) (internal quotation omitted). Thus,

the court finds that Wieman does not satisfy the criteria under U.S.S.G.

§ 1B1.13 comment note 1(A) or U.S.S.G. § 1B1.13 comment note 1(D).

      Additionally, Wieman’s motion has not shown that the BOP’s response to

the pandemic at FCI Pekin has been inadequate in any way. See United States

v. Korn, 2020 WL 1808213, at *6 (W.D.N.Y. Apr. 9, 2020) (“[T]he mere

possibility of contracting a communicable disease such as COVID-19, without

any showing that the Bureau of Prisons will not or cannot guard against or

treat such a disease, does not constitute an extraordinary or compelling reason

for a sentence reduction under the statutory scheme.” (emphasis omitted)). At

the present time, there are two active COVID-19 cases among the inmates at

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FCI Pekin. “Thus, it appears that the facility has been responding to and

defending against the threats of the virus in a vigorous and generally effective

manner.” United States v. Williams, 2020 WL 4756738, at *4 (E.D. Pa. Aug. 17,

2020); see also United States v. Berry, 2020 WL 4035457, at *3 (D.N.J. July 17,

2020) (“[G]iven the markedly restrained progression of the virus within FCI

Schuylkill, as compared to within the Delaware Valley region generally, BOP’s

Action Plan appears to be having a positive impact.”). Although Wieman is

unable to practice preventative measures as effectively in custody as she would

in home confinement, FCI Pekin encourages inmates to wash their hands

frequently, wear facial masks, and practice social distancing when feasible. See

Docket 284 at 94; BOP Implementing Modified Operations, Federal Bureau of

Prisons, https://www.bop.gov/coronavirus/covid19_status.jsp (last visited

Sept. 10, 2020). Wieman can do all those recommendations to some extent.

      The court believes that Wieman’s health conditions are appropriately

managed at FCI Pekin, that the facility is engaged in strenuous efforts to

protect inmates against the spread of COVID-19, and that it would act to treat

any inmate who does contract COVID-19. Although the court in no way

underestimates Wieman’s health conditions, such ailments, coupled with the

present conditions at FCI Pekin, do not establish extraordinary and compelling

reasons justifying her early release.

      Even assuming Wieman’s medical conditions are “extraordinary and

compelling reasons warrant[ing] such a reduction” under 18 U.S.C.

§ 3582(c)(1)(A)(i), the sentencing factors in § 3553(a) do not weigh in favor of a

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reduction. Wieman was involved in a conspiracy to distribute 500 grams or

more of methamphetamine; she was found responsible for distributing

approximately 194.8 grams of methamphetamine. Docket 218 ¶ 45. At one

point during the conspiracy, she exchanged a firearm for methamphetamine.

Id. ¶¶ 42, 51. When sentencing Wieman less than a year ago, the court factored

in Wieman’s limited criminal history and sentenced her to the mandatory

minimum of 120 months. Wieman has served approximately only 10% of her

full term and approximately 12% of her statutory term. Docket 284 at 213. And

she appears, to her credit, to have worked on improving herself in custody. Id.

at 209-10. But the original sentence was chosen with care, considering

Wieman’s and her community’s needs and all of the other applicable

sentencing factors. Therefore, the court finds that Wieman’s sentence of 120

months in custody with 5 years of supervised release continues to be

appropriate for the seriousness of the crime to which she pleaded guilty.

                                 CONCLUSION

      Wieman has failed to satisfy the extraordinary and compelling reason

standard. Thus, it is

      ORDERED that defendant’s motion for relief under the First Step Act

(Docket 282) is denied.

      Dated September 11, 2020.

                                     BY THE COURT:

                                     /s/ Karen E. Schreier
                                     KAREN E. SCHREIER
                                     UNITED STATES DISTRICT JUDGE

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